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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                  :     CASE NO.      5:12-cr-00563
                                           :
                     Plaintiff,            :     JUDGE CHRISTOPHER A. BOYKO
                                           :
              v.                           :
                                           :     MAGISTRATE JUDGE
TREMAINE TOWNSEND,                         :     NANCY A. VECCHIARELLI
                                           :
                     Defendant.            :     REPORT & RECOMMENDATION



       Pursuant to General Order 99-49, this matter has been referred to United States

Magistrate Judge Nancy A. Vecchiarelli for purposes of receiving, on consent of the

parties, the defendant’s offer of a plea of guilty, conducting the colloquy prescribed by

Fed. R. Crim. P. 11, causing a verbatim record of the proceedings to be prepared,

referring the matter, if appropriate, for presentence investigation, and submitting a

Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered. The following, along with the transcript or

other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

Report and Recommendation concerning the plea of guilty proffered by the defendant.

       1.     On May 16, 2013, the defendant, accompanied by counsel, proffered a

              plea of guilty to count 1 of the indictment based upon the drug quantities

              set forth in the plea agreement, that is, at least 400 grams but less than

              700 grams of heroin.
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.       2.     Prior to such proffer, the defendant was examined as to his competency,

               advised of the charge and consequences of conviction, informed that the

               Federal Sentencing Guidelines are advisory and the Court must consider

               them but the Court may impose any reasonable sentence authorized by

               law, notified of his rights, advised that he was waiving all his rights except

               the right to counsel and otherwise was provided with the information

               prescribed in Fed. R. Crim. P. 11.

        3.     The parties and counsel informed the court about the plea agreement

               between the parties; the undersigned was advised that, aside from such

               agreement as described or submitted to the court, no other commitments

               or promises have been made by any party, and no other agreements,

               written or unwritten, have been made between the parties.

        4.     The undersigned questioned the defendant under oath about the knowing,

               intelligent, and voluntary nature of the plea of guilty, and finds that the

               defendant was competent to enter a plea and the plea was offered

               knowingly, intelligently, and voluntarily.

        5.     The parties provided the undersigned with sufficient information about the

               charged offense(s) and the defendant’s conduct to establish a factual

               basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds

that the defendant’s plea was knowing, intelligent, and voluntary, and all requirements

imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.



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Therefore, the undersigned recommends that the plea of guilty be accepted and a

finding of guilty be entered by the Court.



                                             s/ Nancy A. Vecchiarelli
                                             NANCY A. VECCHIARELLI
                                             UNITED STATES MAGISTRATE JUDGE



DATE: May 16, 2013



                                      OBJECTIONS

      Any objections to this Report and Recommendation must be filed with the
Clerk of Courts within fourteen (14) days after being served with a copy of this
Report and Recommendation. Failure to file objections within the specified time
may waive the right to appeal the District Court’s order. See United States v.
Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474 U.S. 140 (1985),
reh’g denied, 474 U.S. 1111 (1986).




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